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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


       In re Flint Water Cases.              Judith E. Levy
                                             United States District Judge
       ________________________________/

       This Order Relates To:

       ALL CASES

       ________________________________/

                    ORDER AMENDING FIRST BELLWETHER
                            TRIAL SCHEDULE

           Due to the COVID-19 pandemic, the deadlines set forth in the Fifth

      Amended Case Management Order (ECF No. 1255) related to the first

      bellwether trial are amended as follows.

     Old Date                   New Date                           Event

February 15, 2021     April 16, 2021                Last day to depose defendants’
                                                    disclosed experts
February 8, 2021      April 20, 2021                Motions for Summary Judgment
                                                    and Daubert Motions Filed
March 22, 2021        June 21, 2021                 Responses to the motions for
                                                    summary judgment and Daubert
                                                    motions due
March 17, 2021        July 26, 2021                 Motions in limine and designations
                                                    of deposition testimony to be
                                                    played/read to the jury due
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May 3, 2021             August 2, 2021                Witness lists, exhibit lists, trial
                                                      briefs, jury instructions and other
                                                      similar pretrial filings required by
                                                      the court
April 21, 2021          August 10, 2021               Replies to the opposition to motions
                                                      for summary judgment and Daubert
                                                      motions due
N/A                     August 2021 (TBD)             Hearing on Daubert Motions and
                                                      Summary Judgment
April 7, 2021           August 25, 2021               Oppositions to the motions in
                                                      limine; counter-designations and
                                                      objections to the designated
                                                      testimony due
May 14, 2021            September 6, 2021             Objections and responses to the
                                                      witness lists, exhibit lists, trial
                                                      briefs, jury instructions and other
                                                      similar pretrial filings required by
                                                      the court due
April 16, 2021          September 15, 2021            Objections to the counter-
                                                      designated deposition testimony due
N/A                     September, 2021 (TBD)         Hearing date for motions in limine
                                                      and deposition designations; final
                                                      Pre-Trial hearing regarding witness
                                                      lists, exhibit lists, trial briefs, jury
                                                      instructions, and other pretrial
                                                      filings
June 1, 2021            October 12, 2021              Trial Date


              IT IS SO ORDERED.


       Dated: January 22, 2021                   s/Judith E. Levy
       Ann Arbor, Michigan                       JUDITH E. LEVY
                                                 United States District Judge



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                       CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on January 22, 2021.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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